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                                              EXHIBIT A

                    Artist            Track                Reg. No.          Plaintiff(s)
       1    alt-J            Left Hand Free             SR0000770601   Atlantic Recording
                                                                       Corporation
       2    Anne-Marie       Heavy (Decoy! Remix)       SR0000913072   Warner Music
                                                                       International Services
                                                                       Limited
       3    Bazzi            Myself                     SR0000824441   Atlantic Records Group
                                                                       LLC
       4    Blake Shelton    God Gave Me You            SR0000693085   Warner Records Inc.

       5    Bruno Mars       Locked out of Heaven       SR0000715738   Atlantic Recording
                                                                       Corporation
       6    Bruno Mars       Treasure                   SR0000715738   Atlantic Recording
                                                                       Corporation
       7    Cardi B          WAP (feat. Megan Thee      SR0000889635   Atlantic Recording
                             Stallion)                                 Corporation
       8    Cardi B, Bad     I Like It                  SR0000823652   Atlantic Recording
            Bunny & J                                                  Corporation
            Balvin
       9    Crime Mob        Rock Yo Hips (feat. Lil    SR0000406835   Warner Records Inc.
                             Scrappy)
       10   Cupid            Cupid Shuffle              SR0000707365   Atlantic Recording
                                                                       Corporation
       11   David Guetta     Shot Me Down (feat.        SR0000933238   Warner Music
                             Skylar Grey)                              International Services
                                                                       Limited
       12   Don Toliver      No Idea                    SR0000877543   Atlantic Records Group
                                                                       LLC
       13   Don Toliver      No Idea                    SR0000877543   Atlantic Records Group
                             (CHOPNOTSLOP                              LLC
                             REMIX)
       14   Don Toliver      No Idea (DJ Purpberry      SR0000877543   Atlantic Records Group
                             Chopped and Screwed)                      LLC
       15   Dua Lipa         Don't Start Now            SR0000864567   Warner Music
                                                                       International Services
                                                                       Limited
       16   Dua Lipa         Levitating                 SR0000902950   Warner Music
                                                                       International Services
                                                                       Limited
       17   Dua Lipa         Physical                   SR0000870295   Warner Music
                                                                       International Services
                                                                       Limited
       18   EC Twins         You've Never Seen (feat.   SR0000932999   Spinnin Records B.V.
                             CeCe Peniston)
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                 Artist                Track                Reg. No.         Plaintiff(s)
       19   Erica Banks      Buss It                     SR0000934322   Warner Records Inc.

       20   Flo Rida         In the Ayer (feat.          SR0000629161   Atlantic Recording
                             will.I.am)                                 Corporation
       21   Flo Rida         My House                    SR0000808466   Atlantic Recording
                                                                        Corporation
       22   Flo Rida         My House (Bonics & A-       SR0000808466   Atlantic Recording
                             Rock Remix)                                Corporation
       23   Green Day        American Idiot              SR0000362125   Warner Records Inc.

       24   Jack Harlow      WHATS POPPIN                SR0000877565   Atlantic Recording
                                                                        Corporation
       25   Jack Harlow      WHATS POPPIN (feat.         SR0000877651   Atlantic Recording
                             DaBaby, Tory Lanez &                       Corporation
                             Lil Wayne) [Remix]
       26   Jason Derulo     Take You Dancing            SR0000886298   Atlantic Records Group
                                                                        LLC
       27   Jason Derulo     Whatcha Say                 SR0000685175   Warner Records Inc.

       28   Jason Derulo x   Coño                        SR0000933483   Warner Music
            Puri x                                                      International Services
            Jhorrmountain                                               Limited
       29   Jauz &           Rock The Party              SR0000933008   Spinnin Records B.V.
            Ephwurd
       30   JoeVille         Sexy                        SR0000885637   Asylum Worldwide
                                                                        LLC
       31   John Williams    Hedwig's Theme              SR0000934780   Warner Records Inc.

       32   Justin Quiles, PAM                     SR0000933604         Warner Music Latina
            Daddy Yankee,                                               Inc.
            El Alfa
       33   Kollektiv      Sorry I Am Late (Summer SR0000933501         Warner Music
            Turmstrasse    2016 Version)                                International Services
                                                                        Limited
       34   Lizzo            Exactly How I Feel (feat.   SR0000851086   Atlantic Recording
                             Gucci Mane)                                Corporation
       35   L'Trimm          Cars That Go Boom           SR0000097264   Atlantic Recording
                                                                        Corporation
       36   Lupe Fiasco      The Show Goes On            SR0000704967   Atlantic Recording
                                                                        Corporation
       37   Michael Calfan Treasured Soul                SR0000933496   Spinnin Records B.V.

       38   Mike Williams    Make You Mine (feat.        SR0000933002   Spinnin Records B.V.
                             Moa Lisa)



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                Artist                Track                  Reg. No.          Plaintiff(s)
       39   pcam             Will You Remember Me?        SR0000889623   Atlantic Records Group
                                                                         LLC
       40   Portugal. The    Feel It Still                SR0000806561   Atlantic Recording
            Man                                                          Corporation
       41   Puri x           Coño                         SR0000933011   Warner Music
            Jhorrmountain                                                International Services
            x Adje                                                       Limited
       42   R3hab &          Flashlight                   SR0000933030   Spinnin Records B.V.
            Deorro
       43   Ritchie Valens   La Bamba                     Pre-72         Rhino Entertainment
                                                                         Company
       44   Roddy Ricch      The Box                      SR0000925337   Atlantic Recording
                                                                         Corporation
       45   Sada Baby        Whole Lotta Choppas          SR0000885657   Asylum Worldwide
                                                                         LLC
       46   Saweetie         Tap In                       SR0000887719   Warner Records Inc.

       47   Sean Paul        Gimme the Light              SR0000352634   Atlantic Recording
                                                                         Corporation
       48   Sevyn Streeter   It Won't Stop (feat. Chris   SR0000753665   Atlantic Recording
                             Brown)                                      Corporation
       49   Skrillex & Poo   Would You Ever               SR0000934386   Atlantic Recording
            Bear                                                         Corporation
       50   The Notorious    Hypnotize                    SR0000220411   Bad Boy Records LLC
            B.I.G.
       51   THEY.            U-RITE                       SR0000815832   Warner Records Inc.

       52   Tujamo &         Drop It                      SR0000933005   Spinnin Records B.V.
            Lukas Vane
       53   twenty one       Heathens                     SR0000788562   Atlantic Recording
            pilots                                                       Corporation
       54   Van Halen        Hot for Teacher              SR0000052319   Rhino Entertainment
                                                                         LLC
       55   Waka Flocka      Grove St. Party (feat.       SR0000672357   Warner Records Inc.
            Flame            Kebo Gotti)
       56   Waka Flocka      No Hands (feat. Roscoe       SR0000672357   Warner Records Inc.
            Flame            Dash and Wale)
       57   Wale             Lotus Flower Bomb (feat.     SR0000698024   Atlantic Recording
                             Miguel)                                     Corporation
       58   Wiz Khalifa      Something New (feat. Ty      SR0000922156   Atlantic Recording
                             Dolla $ign)                                 Corporation
       59   24kGoldn         DROPPED OUTTA                PA0002309825   Warner-Tamerlane
                             COLLEGE                                     Publishing Corp.; W
                                                                         Chappell Music Corp.



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                 Artist                    Track                  Reg. No.         Plaintiff(s)
       60   24kGoldn           GAMES ON YOUR                  PA0002309761   W Chappell Music Corp.
                               PHONE
       61   50 Cent            In Da Club (Instrumental)      PA0001248729   W Chappell Music Corp.

       62   A$AP Ferg,         Plain Jane REMIX (feat.        PA0002134058   Warner-Tamerlane
            Nicki Minaj        Nicki Minaj)                                  Publishing Corp.
       63   Alan Walker        The Spectre                    PA0002360231   W Chappell Music Corp.

       64   Ariana Grande      7 rings                        PA0002191175   Warner-Tamerlane
                                                                             Publishing Corp.
       65   Bad Bunny, Don     PA' ROMPERLA                   PA0002361262   W Chappell Music Corp.
            Omar
       66   Bassjackers        Crackin (Martin Garrix Edit)   PA0002360204   W Chappell Music Corp.

       67   Beyoncé            Drunk in Love (feat. Jay-Z)    PA0001918132   Warner-Tamerlane
                                                                             Publishing Corp.
       68   Beyoncé            End of Time                    PA0001861922   W Chappell Music Corp.

       69   Beyoncé            Partition                      PA0001918144   Warner-Tamerlane
                                                                             Publishing Corp.; W
                                                                             Chappell Music Corp.
       70   Beyoncé ft. Jay-   Upgrade U                      PA0001165461   W Chappell Music Corp.
            Z
       71   Beyoncé, Bun B,    Check On It (feat. Bun B &     PA0001324609   W Chappell Music Corp.
            Slim Thug          Slim Thug)
       72   Beyoncé, JAY-Z     Crazy in Love (feat. Jay-Z)    PA0001131132   Unichappell Music Inc.

       73   Bishop Briggs      River                          PA0002052535   W Chappell Music Corp.

       74   Blake Shelton      God Gave Me You                PA0002361212   W Chappell Music Corp.

       75   Britney Spears     I'm a Slave 4 U                PA0001060309   Warner Chappell Music,
                                                                             Inc.
       76   Bruno Mars         Locked out of Heaven           PA0001869823   Warner Chappell Music,
                                                                             Inc.
       77   Bruno Mars         Treasure                       PA0001869830   Warner Chappell Music,
                                                                             Inc.
       78   C & C Music        Gonna Make You Sweat           PA0000520228   W Chappell Music Corp.
            Factory            (Everybody Dance Now)
       79   Calboy             Envy Me                        PA0002295270   W Chappell Music Corp.

       80   Calvin Harris      Nuh Ready Nuh Ready            PA0002129945   W Chappell Music Corp.
                               (feat. PARTYNEXTDOOR)




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                 Artist                     Track                Reg. No.         Plaintiff(s)
       81   Calvin Harris,     Feels (feat. Pharrell         PA0002140971   W Chappell Music Corp.
            Pharrell           Williams, Katy Perry & Big
            Williams, Katy     Sean)
            Perry, Big Sean,
            Funk Wav
       82   Camila Cabello,    OMG (feat. Quavo)             PA0002166871   Warner-Tamerlane
            Quavo                                                           Publishing Corp.
       83   Cardi B, Bad       I Like It                     PA0002143531   W Chappell Music Corp.
            Bunny & J
            Balvin
       84   Chris Brown        Beg For It                    PA0001864144   Warner-Tamerlane
                                                                            Publishing Corp.; W
                                                                            Chappell Music Corp.
       85   Chris Brown        Don't Wake Me Up              PA0001842282   W Chappell Music Corp.

       86   Chris Brown,       No Guidance feat. Drake       PA0002239293   W Chappell Music Corp.
            Drake
       87   Chris Brown, Lil   Gimme That Remix (feat.       PA0001372253   Warner-Tamerlane
            Wayne              Lil Wayne)                                   Publishing Corp.
       88   Chris Brown, Lil   Look At Me Now (feat. Lil     PA0001921210   Warner-Tamerlane
            Wayne, Busta       Wayne & Busta Rhymes)                        Publishing Corp.
            Rhymes
       89   Chrishan           Sin City                      PA0002360228   Warner-Tamerlane
                                                                            Publishing Corp.
       90   Ciara              Level Up                      PA0002221124   W Chappell Music Corp.

       91   Ciara,             Get Up (feat.                 PA0001373928   Warner-Tamerlane
            Chamillionaire     Chamillionaire)                              Publishing Corp.
       92   Ciara, Missy       1, 2 Step (feat. Missy        PA0001263489   Warner-Tamerlane
            Elliott            Elliott)                                     Publishing Corp.
       93   Ciara, Petey       Goodies (feat. Petey Pablo)   PA0001263487   Warner-Tamerlane
            Pablo                                                           Publishing Corp.
       94   Claudio            Halloween                     PA0002182950   W Chappell Music Corp.
            Simonetti
       95   DaBaby             ROCKSTAR (feat. Roddy         PA0002251718   W Chappell Music Corp.
                               Ricch)
       96   David Guetta       Shot Me Down (feat. Skylar    PA0001936716   Cotillion Music, Inc.
                               Grey)                         EU0000925604
       97   Dimitri Vegas &    Selfish                       PA0002361447   W Chappell Music Corp.
            Like Mike, Era
            Istrefi
       98   Diplo &            On My Mind - Do You           PA0002361561   W Chappell Music Corp.
            SIDEPIECE          Dance? Edit
       99   Diplo, Sonny       Turn Back Time                PA0002360218   Warner-Tamerlane
            Fodera                                                          Publishing Corp.




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                Artist                     Track                Reg. No.         Plaintiff(s)
      100   DJ Khaled,        Wild Thoughts (feat.          PA0002082167   W Chappell Music Corp.
            Rihanna, Bryson   Rihanna & Bryson Tiller)
            Tiller
      101   DJ Snake          Loco Contigo (feat. J.        PA0002302180   W Chappell Music Corp.
                              Balvin & Tyga)
      102   DJ Snake          Taki Taki (feat. Selena       PA0002158343   Warner-Tamerlane
                              Gomez, Ozuna & Cardi B)                      Publishing Corp.
      103   DJ Snake & Lil    Turn Down for What            PA0001945913   Warner-Tamerlane
            Jon                                                            Publishing Corp.
      104   Doja Cat          Boss Bitch                    PA0002310969   W Chappell Music Corp.

      105   Doja Cat          Say So                        PA0002308467   Warner-Tamerlane
                                                                           Publishing Corp.; W
                                                                           Chappell Music Corp.
      106   Doja Cat, Gucci   Like That (feat. Gucci        PA0002307930   Warner-Tamerlane
            Mane              Mane)                                        Publishing Corp.; W
                                                                           Chappell Music Corp.
      107   Drake             Nice For What                 PA0002230647   W Chappell Music Corp.

      108   Dua Lipa          Don't Start Now               PA0002266991   Warner-Tamerlane
                                                                           Publishing Corp.
      109   Dua Lipa          Levitating                    PA0002292827   W Chappell Music Corp.

      110   Dua Lipa          Physical                      PA0002266992   W Chappell Music Corp.

      111   Erica Banks       Buss It                       PA0002334539   Warner Chappell Music,
                                                            PA0001073270   Inc.
      112   Fifth Harmony,    Worth It (feat. Kid Ink)      PA0001961626   W Chappell Music Corp.
            Kid Ink
      113   Flo Rida          My House                      PA0001996538   Warner-Tamerlane
                                                                           Publishing Corp.
      114   Flo Rida          My House (Bonics & A-         PA0001996538   Warner-Tamerlane
                              Rock Remix)                                  Publishing Corp.
      115   Fugees            Killing Me Softly             EU339027       Warner-Tamerlane
                                                            RE879477       Publishing Corp.
      116   Green Day         American Idiot                PA0001251385   W.C.M. Music Corp.
                                                            PA0002314112
      117   Gwen Stefani      Hollaback Girl                PA0001254232   Warner Chappell Music,
                                                                           Inc.
      118   Hush              Tentakel                      PA0002360224   W Chappell Music Corp.

      119   Imagine           Believer                      PA0002154294   Warner-Tamerlane
            Dragons                                                        Publishing Corp.; W
                                                                           Chappell Music Corp.




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                 Artist                  Track                 Reg. No.         Plaintiff(s)
      120   J Balvin          Blanco                       PA0002350153   W Chappell Music Corp.

      121   J Balvin, Jeon,   Machika                      PA0002361934   W Chappell Music Corp.
            Anitta
      122   J. Cole           Work Out                     PA0001775270   W Chappell Music Corp.

      123   Jack Harlow       WHATS POPPIN                 PA0002238416   Warner-Tamerlane
                                                                          Publishing Corp.
      124   Jack Harlow       WHATS POPPIN (feat.          PA0002238416   Warner-Tamerlane
                              DaBaby, Tory Lanez & Lil                    Publishing Corp.
                              Wayne) [Remix]
      125   JACKBOYS,         OUT WEST (feat. Young        PA0002360226   Warner-Tamerlane
            Travis Scott,     Thug)                                       Publishing Corp.
            Young Thug
      126   Jason Derulo x    Coño                         PA0002294118   W Chappell Music Corp.
            Puri x
            Jhorrmountain
      127   Jax Jones, Mike   House Work                   PA0002360848   W Chappell Music Corp.
            Dunn, MNEK
      128   Jay Sean, Lil     Down                         PA0001699626   Warner-Tamerlane
            Wayne                                                         Publishing Corp.
      129   Jessie J          Domino                       PA0001853396   Warner-Tamerlane
                                                                          Publishing Corp.
      130   Johnny Orlando,   What If (I Told You I Like   PA0002323099   W.C.M. Music Corp.
            kenzie            You)
      131   Jordi Rivera,     Bubblegum                    PA0002360207   W Chappell Music Corp.
            Sonny Bass
      132   JP Saxe           If the World Was Ending -    PA0002283399   Warner-Tamerlane
                              feat. Julia Michaels                        Publishing Corp.
      133   Justin Bieber     Baby                         PA0001733297   W Chappell Music Corp.

      134   Justin Bieber     Sorry                        PA0002115569   Warner-Tamerlane
                                                                          Publishing Corp.
      135   Justin            Like I Love You              PA0001115925   Warner Chappell Music,
            Timberlake                                                    Inc.
      136   Justin            Rock Your Body               PA0001133266   Warner Chappell Music,
            Timberlake                                                    Inc.
      137   K CAMP            Lottery (Renegade)           PA0002196412   Warner-Tamerlane
                                                                          Publishing Corp.
      138   Katy Perry        The One That Got Away        PA0001753639   W Chappell Music Corp.

      139   Kesha             Take It Off                  PA0001790994   Warner-Tamerlane
                                                                          Publishing Corp.
      140   Khalid            Location                     PA0002097799   W Chappell Music Corp.




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                Artist                     Track               Reg. No.         Plaintiff(s)
      141   Leikeli47          Look                        PA0002360213   Warner-Tamerlane
                                                                          Publishing Corp.
      142   Lil Nas X          HOLIDAY                     PA0002272516   Warner-Tamerlane
                                                                          Publishing Corp.
      143   Lil Nas X, Cardi   Rodeo                       PA0002307879   Warner-Tamerlane
            B                                                             Publishing Corp.
      144   Lizzo              Exactly How I Feel (feat.   PA0002293032   Warner-Tamerlane
                               Gucci Mane)                                Publishing Corp.
      145   LMFAO, Lil Jon     Shots                       PA0001691942   Warner-Tamerlane
                                                                          Publishing Corp.
      146   Louis Prima        Pennies From Heaven         EP58037        Warner Chappell Music,
                                                           R325040        Inc.
                                                           EU123687
                                                           R317252
      147   Major Lazer        Que Calor (with J Balvin)   PA0002222614   Warner-Tamerlane
                               [Saweetie Remix]                           Publishing Corp.; W
                                                                          Chappell Music Corp.
      148   Mariah Carey       Emotions                    PA0000583896   W Chappell Music Corp.

      149   Mariah Carey       Fantasy                     PA0000795299   W Chappell Music Corp.

      150   Mark Ronson ft.    Uptown Funk                 PA0001974777   Warner Chappell Music,
            Bruno Mars                                                    Inc.
      151   Martin Garrix      Summer Days (feat.          PA0002197113   W Chappell Music Corp.
                               Macklemore & Patrick
                               Stump of Fall Out Boy)
      152   MELVV, Dana        Lifeline                    PA0002360215   Warner-Tamerlane
            Williams                                                      Publishing Corp.
      153   Mike Williams      Make You Mine (feat. Moa    PA0002360845   W Chappell Music Corp.
                               Lisa)
      154   Miley Cyrus        Party In The U.S.A.         PA0002358151   Warner-Tamerlane
                                                                          Publishing Corp.
      155   Mitchell           Drunk Me                    PA0002156278   W Chappell Music Corp.
            Tenpenny
      156   Nicky Jam,         Muévelo                     PA0002361683   Warner-Tamerlane
            Daddy Yankee                                                  Publishing Corp.
      157   Pop Smoke          For The Night (feat. Lil    PA0002308963   Warner-Tamerlane
                               Baby & DaBaby)                             Publishing Corp.; W
                                                                          Chappell Music Corp.
      158   Pop Smoke          What You Know Bout Love     PA0002305086   Warner-Tamerlane
                                                                          Publishing Corp.
      159   Portugal. The      Feel It Still               PA0002140987   Warner-Tamerlane
            Man                                                           Publishing Corp.; W
                                                                          Chappell Music Corp.




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                   Artist                Track                Reg. No.         Plaintiff(s)
      160   Rae Sremmurd,    Black Beatles                PA0002073623   Warner-Tamerlane
            Gucci Mane                                                   Publishing Corp.; W
                                                                         Chappell Music Corp.
      161   Rick Ross        Push It                      PA0001332125   Warner Chappell Music,
                                                                         Inc.
      162   Rod Wave         Rags2Riches (feat. ATR       PA0002361369   W Chappell Music Corp.
                             Son Son)
      163   Roddy Ricch      The Box                      PA0002246240   Warner-Tamerlane
                                                                         Publishing Corp.
      164   Saweetie         Tap In                       PA0002251404   W Chappell Music Corp.

      165   Sean Kingston    Beautiful Girls              PA0001861701   Warner Chappell Music,
                                                                         Inc.
      166   Shaggy           It Wasn't Me                 PA0001075288   W Chappell Music Corp.

      167   Snoop Dogg,      Winter Wonderland /          E44664         W Chappell Music Corp.;
            Anna Kendrick    Here Comes Santa Claus       R284735        Gene Autry's Western
                                                          EU100906       Music Publishing Co
      168   Soulja Boy       I Got Me Some Bapes          PA0001612993   Warner-Tamerlane
                                                                         Publishing Corp.
      169   Steve Aoki,      Azukita                      PA0002129424   W Chappell Music Corp.
            Daddy Yankee,
            Play-N-Skillz,
            Elvis Crespo
      170   Tai Verdes       Stuck In The Middle          PA0002360211   Warner-Tamerlane
                                                                         Publishing Corp.
      171   The Weeknd       Blinding Lights              PA0002223543   W Chappell Music Corp.

      172   Tinashe,         2 On (feat. ScHoolboy Q)     PA0001910781   W Chappell Music Corp.
            ScHoolboy Q
      173   TLC              No Scrubs                    PA0002203763   Warner-Tamerlane
                                                                         Publishing Corp.; W
                                                                         Chappell Music Corp.
      174   T-Pain           Bang Bang Pow Pow (feat.     PA0001846692   Warner-Tamerlane
                             Lil' Wayne)                                 Publishing Corp.
      175   T-Pain, Yung     Buy U a Drank (Shawty        PA0001599414   Warner-Tamerlane
            Joc              Snappin') (feat. Yung Joc)                  Publishing Corp.
      176   Trillion Trap    The Nutcracker               PA0002361377   W Chappell Music Corp.

      177   Trippie Redd     Love Scars                   PA0002336873   W Chappell Music Corp.

      178   twenty one       Heathens                     PA0002131497   Warner-Tamerlane
            pilots                                                       Publishing Corp.
      179   Tyga             Ayy Macarena                 PA0002251359   W Chappell Music Corp.
                                                          PA0000823060




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                  Artist                  Track                Reg. No.         Plaintiff(s)
       180   Van Halen       Hot for Teacher               PA0000215905   W Chappell Music Corp.

       181   Waka Flocka     Grove St. Party (feat. Kebo   PA0001739117   Warner-Tamerlane
             Flame           Gotti)                                       Publishing Corp.; W
                                                                          Chappell Music Corp.
       182   Waka Flocka     No Hands (feat. Roscoe        PA0001739078   W Chappell Music Corp.
             Flame           Dash and Wale)
       183   Wale            Lotus Flower Bomb (feat.      PA0001816126   W Chappell Music Corp.
                             Miguel)
       184   Wiz Khalifa     Something New (feat. Ty       PA0002261872   Warner-Tamerlane
                             Dolla $ign)                                  Publishing Corp.; W
                                                                          Chappell Music Corp.
       185   Wynter Gordon   Dirty Talk                    PA0001779102   W Chappell Music Corp.

       186   Yello           Oh Yeah                       PA0000243953   W Chappell Music Corp.

       187   Yo Gotti, Lil   Pose (feat. Lil Uzi Vert)     PA0002238932   Warner-Tamerlane
             Uzi Vert                                                     Publishing Corp.; W
                                                                          Chappell Music Corp.




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